Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 1 of 7




                       Exhibit 2
Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 2 of 7
Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 3 of 7
Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 4 of 7
Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 5 of 7
Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 6 of 7
Case 2:10-md-02179-CJB-DPC Document 11818-2 Filed 11/07/13 Page 7 of 7
